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IN THE UNITED sTATss DISTRICT cOURT
son THE wEsTERN DISTRICT oF TENNESSEE
EASTERN DIvIsION f

 
 
     
  
 
    
      

UNITED STATES OF AMERICA,

 

Plaintiff,
vs.
HEATHER MICHELLE LEE,
s ~n
Defendant. ;_ §
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_'» an
§§ -- ..` g
MOTION FOR FURTHER EXTENSION oF T Ms IN wHItY::)’§;» §§ ! § \
TO REPORT To INSTITUTI N §§g:g§§ ¢.. l 7
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COMES NOW the defendant herein, Heat er Michelle Lee,

appointed counsel, and moves this Hono able Court for a further

extension of time in which to report t an institution for service

fendant states unto the Court

of a sentence. In support whereof,

that:
Ms. Lee was sentenced by his Court on May 3, 2005 (Docket
to 13 months custody followed by two

entry 37). She was sentence

(Docket entry 39). Following the

years of supervised re ease

sentencing, the def dant filed a Motion for Bond Pending Appeal

/.S.C. § 3143(b) on May 17, 2005 (Docket entry 41).

Pursuant to 18
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This was followed by the Notice of Appeal on May 17, 2005 (Docket

entry 4
he United States filed its response to the defendant s motion

fo nd on May 18, 2005 (Docket entry 43). The Court filed an

Order denying the defendant’s motion on Maqv¥€)Tqufq(

DATE:
Th|s document entered on the docket _et In corn llance
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James D. Todd
U.S. Dislrict Judge

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46). The defendant's Reply to the Government's Response was filed
on May 27, 2005.

A Notice of Designation, directing the defendant to report to
a facility in Lexington, Kentucky by June 16, 2005, was filed on
May 27, 2005 (Docket entry 49). Upon motion of the defendant, this
Court allowed an extension of time in which to report, until July
18, 2005 (Docket entry 54).

The defendant filed a motion to appeal the Court’s denial Of
an appeal bond with the Court of Appeals on June 13, 2005. To
date, the Court of Appeals has not ruled upon the nmtion. An
inquiry to the Court of Appeals Clerk has not yet provided a
response. Defendant therefore requests an additional extension of
time, of at least 30 days, in which to report to the institution,
in order to allow the Court of Appeals to resolve the pending
motion for a bond pending appeal.

Undersigned counsel understands that Jerry Kitchen, Esq.,
Assistant United States Attorney, is opposed to this request.

WHEREFORE, defendant Heather Michelle Lee respectfully
requests an additional 30 days in which to report to an institution
for service of sentence, to permit the Court of Appeals for the
Sixth Circuit to rule upon the defendant’s motion for bond ending

appeal.

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Respectfully submitted,

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APREB”R. GOODE

Assistant Federal Defender

200 Jefferson Avenue, Suite 200
Memphis, TN 38103/(901) 544-3895

CERTIF ICATE OF SERVI CE
The Office of the Federal Defender has this date delivered a
copy of the foregoing Defendant's Motion for Further Extension of
Time in Which to Report to Institution to Jerry R. Kitchen, Esq.,
Assistant U.S. Attorney, 109 S. Highland.Avenue, 3rd floor, Jackson,
TN 38301.

THIS /SXVvday of July, 2005.

die

AP§Q§ R. GOODE

 

"DTISRICT COUR - WESTERN D"T'CT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 1:03-CR-10090 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

